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  8                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
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11    BRALA BEVERLY,                     )   Case No. 8:21-cv-1277-JGB (SP)
12                                       )
                          Plaintiff,     )
13                                       )   ORDER ACCEPTING FINDINGS AND
                    v.                   )   RECOMMENDATION OF UNITED
14                                       )   STATES MAGISTRATE JUDGE, AND
      NEWPORT BEACH POLICE               )   REMANDING CASE TO STATE
15    DEPARTMENT, et al.,                )   COURT
                                         )
16                        Defendants.    )
                                         )
17    ___________________________        )

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19         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, records
20 on file, and the Report and Recommendation of the United States Magistrate Judge.
21 None of the parties filed any written Objections to the Report within the time
22 permitted. The Court accepts the findings and recommendation of the Magistrate
23 Judge.
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  1        IT IS THEREFORE ORDERED:
  2        1.     Plaintiff’s Motion to Remand (docket no. 6) is granted in part and
  3 denied in part;
  4        2.     Plaintiff’s four federal claims (the first, second, third, and eighth causes
  5 of action) are dismissed without prejudice; and
  6        3.     This case with its remaining state law claims is hereby remanded to the
  7 Superior Court of California, County of Orange.
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10 Dated: October 1, 2021
11                                           _______________________________
12                                           HONORABLE JESUS G. BERNAL
                                             UNITED STATES DISTRICT JUDGE
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